                    Case 01-01139-AMC   Doc 23303-7     Filed 09/21/09   Page 1 of 6




                                          EXHIBIT E-2

                                            2009 Note




91 IOO-OOI\DOCS_DE:153329. 1
       Case 01-01139-AMC         Doc 23303-7      Filed 09/21/09    Page 2 of 6




                 NON-NEGOTIABLE PROMISSORY NOTE

                          2009 Maintenance Capital


Up to US$3,500,000                                         November __, 2009
                                                            Columbia, Maryland



       FOR VALUE RECEIVED, W. R. Grace & Co.-Conn., a Connecticut
corporation having its principal offices at 7500 Grace Drive, Columbia,
Maryland 21044 ("Borrower"), hereby promises to pay to Advanced Refining
Technologies LLC, a Delaware limited liability company having its principal
offces at c/o W. R. Grace & Co.- Conn., 7500 Grace Drive, Columbia, Maryland
21044 ("Lender"), the principal amount of THREE MILLION FIVE HUNDRED
THOUSAND U. S. DOLLARS (US$3,500,000), or such lesser principal amount
as shall from time to time be borrowed and outstanding hereunder and reflected
on the grid attached hereto or in the records of the holder of this Promissory
Note, together with interest on the principal amount hereof outstanding from
time to time, as more particularly set forth below, but in any event ON
DEMAND.

      This Promissory Note evidences Amounts Borrowed from time to time in
2009 to fund Maintenance Capital Expenditures (as such term is defined in
Section 5.5, and as such amount must be approved by Lender per Section 5.6,
of the Hydroprocessing Catalyst Supply Agreement effective March 1, 2001,
as amended, between Lender and Borrower).

      Interest on this Promissory Note shall be calculated based on a year of
360 days and actual days elapsed, and shall be payable monthly on the 15th
day of each month (or if such day is not a Business Day, then on the next
succeeding Business Day), commencing December 15, 2009, for the
immediately preceding calendar month, and on the day when any principal
prepayment is made with respect to the amount then prepaid.

       Interest shall be calculated at the rate of interest per annum equal (to
the full extent permitted by applicable law) to UBOR (as defined below) plus
125 basis points (a basis point being equal to 1/10Oth of a percentage point);
provided, however, that upon the occurrence and during the continuance of
any default by Borrower in the scheduled payment of any amount due under this
Promissory Note, which default shall continue for five Business Days after notice
thereof to Borrower by Lender, or in the payment of any amount due under this
Promissory Note upon demand, interest shall, to the full extent permitted by
                                            1
       Case 01-01139-AMC                         Doc 23303-7     Filed 09/21/09     Page 3 of 6




law, thereafter accrue (as well after as before judgment) on such overdue
amount at a rate equal to one percentage point (1 %) above the rate of
interest otherwise applicable herein. Interest shall be payable in respect of
any principal amount borrowed hereunder for the first day of such borrowing, but
not for the day on which such principal amount is repaid.

       Principal on the Total Borrowed wil be paid in 96 monthly payments
each equal to 1/96th of the Total Borrowed for a total repayment period of eight
(8) years unless repaid in part or in full beforehand or upon demand by
Lender. Principal repayments on the Total Borrowed shall be made on the
15th day of each consecutive month commencing February 15, 2010 (or if such
day is not a Business Day then on the next succeeding Business Day).

      As used in this Promissory Note, the following terms shall have the
following meanings:

      "Amount Borrowed" shall mean any periodic draw against this Promissory Note
      for Maintenance Capital Expenditures by Borrower.

      "Business Day" shall mean a day on which banks are not required or
      authorized to close in New York, New York or Columbia, Maryland, U.S.A.
      "Initial Interest Period" shall mean the period commencing on the date of
      this Promissory Note and ending on December 31, 2009.

      "Interest Period" shall mean the Initial              Interest Period and, thereafter, each
      quarterly period commencing on the first day of each subsequent
      calendar quarter and ending on the last day of such subsequent
      calendar quarter during the term of this Promissory Note.

      "UBOR" shall mean for each Interest Period the London Interbank Offered
      Rate for a loan of three months that appears on the Thomson One
      BBA U BOR Screen at close of business on the second Business Day
      immediately preceding the first day of such Interest Period (the "Interest
      Determination Date"); provided, however, that (i) if no such rate
      appears on the Thomson One BBA UBOR Screen on the Interest
      Determination Date, then UBOR shall mean for such Interest Period
      the London Interbank Offered Rate for a loan of three months published
      in The Wall Street Journal on the Interest Determination Date; or (ii) if
      such rate appears on neither the Thomson One BBA UBOR Screen
      nor in The Wall Street Journal on the Interest Date, then UBOR shall
      mean for such Interest Period the London Interbank Offered Rate for a
      loan of three months and in an amount comparable to the aggregate
      principal amount outstanding under this Promissory Note, quoted on
      the Interest Determination Date by Bank of America, N.A.

      "Total Borrowed" shall mean the sum of the Amounts Borrowed
      periodically under this Promissory Note the total which shall not exceed
                                                        2
       Case 01-01139-AMC          Doc 23303-7      Filed 09/21/09     Page 4 of 6




       the lesser of (i) the amount of the actual Maintenance Capital
       Expenditures for the year, and (ii) $3,500,000.

       "U. S. Dollars" and US$" shall mean lawful currency of the United States
       of America.

      All payments to the holder of this Promissory Note shall be made at
the address of the holder set forth in the first paragraph of this Promissory
Note, ATTENTION: Treasury Department, or at such other offce or to such
account as such holder from time to time may specify by notice to Borrower.
       Borrower authorizes the holder of this Promissory Note to make entries in
its records and on the grid attached hereto to show the date and amount of
each borrowing and payment or prepayment made hereunder and the total
principal amount then outstanding, and such entries shall be prima facie
evidence thereof; but the failure of such holder to make any such grid entry
shall not affect the repayment obligations of Borrower hereunder.
       By January 31, 2010, Borrower wil total the Amounts Borrowed under
this Promissory Note, and will advise Lender of the Total Borrowed at the next
meeting of the Executive Committee of Lender.
       This Promissory Note is not negotiable, and is not assignable or
transferable by the holder of this Promissory Note, except with the prior written
consent of Borrower.

        This Promissory Note may be prepaid in whole or in part, at any time and
from time to time without premium or penalty, upon not less than one Business
Day's notice to the holder. Each prepayment will be applied first to accrued
and unpaid interest on the Total Borrowed, and then to installments of principal
in the reverse order of their due dates.

       Borrower waives, to the extent that it may lawfully do so,
presentment, protest, and all notices of whatever kind (other than a demand
for payment as provided for herein and the right to return of this Promissory
Note marked "canceled" against payment in full of all amounts due hereunder)
in connection with payment of this Promissory Note; and Borrower agrees that
the entire principal amount hereof may at any time and for any reason or no
reason, in the holder's sole discretion, be declared to be immediately due
and payable; and further agrees, on demand, to pay interest, to the extent
permitted by applicable law, on all overdue amounts of principal and interest
hereunder at the rate provided for herein. Borrower shall pay to the holder of this
Promissory Note, on demand, all costs and expenses (including, without
limitation, attorneys' fees and expenses) incurred by such holder in
connection with enforcement and collection of this Promissory Note.

       The obligation of Borrower to pay the holder of this Promissory Note shall
be absolute and unconditional and the rights of such holder shall not be
subject to any defense, set-off, counterclaim or recoupment by reason of any
                                             3
        Case 01-01139-AMC          Doc 23303-7       Filed 09/21/09    Page 5 of 6




indebtedness, obligation or liabilty at any time owing or incurred by such holder
to Borrower or otherwise.
     Demand for payment and other notices to Borrower hereunder shall be
made in writing (including facsimile transmission) or by telephone promptly
confirmed in writing at the address shown following Borrower's signature hereon
or at such other address as Borrower shall specify by written notice to the
holder of this Promissory Note at its offce address shown above (or at such
other address as such holder from time to time may specify by written notice to
Borrower).
       No failure by the holder of this Promissory Note to assert any of its rights
or take any action hereunder, nor any delay therein, shall constitute a waiver
of such holders rights hereunder. The rights and remedies provided in this
Promissory Note are cumulative and not exclusive of any rights or remedies
provided by law. No waiver of any such rights shall be effective unless made in a
writing signed by the holder of this Promissory Note and then shall be effective in
the particular instance and limited to the particular matter or matters referred to.
       All amounts payable hereunder shall be paid in U. S. Dollars and in
immediately available and freely transferable funds.
       This Promissory Note shall be governed by and construed and
enforced in accordance with the laws of New York. Borrower hereby
irrevocably submits to the non-exclusive jurisdiction of any court of competent
jurisdiction located in New York, New York for purposes of enforcement hereof
and agrees that process may be served upon it in the manner specified herein
for the delivery of notices or in any other manner permitted by law.

      IN WITNESS WHEREOF, Borrower has caused this Promissory Note to be
executed by its duly authorized offcer as of the date first above written.

                                           w. R. GRACE & CO.-CONN.



                                           By:
                                                 Hudson La Force III
                                                 Senior Vice President and
                                                 Chief Financial Offcer

Borrower's Address for notices:
W. R. Grace & CO.-Conn.
7500 Grace Drive
Columbia, Maryland
ATTENTION: Treasury Department
Telephone: (410) 531-4398 or (410) 531-4560
Fax: (410) 531-4461

                                             4
        Case 01-01139-AMC    Doc 23303-7     Filed 09/21/09   Page 6 of 6




                                GRID
                       W. R. GRACE & CO.-CONN.
                  NON-NEGOTIABLE PROMISSORY NOTE
                          2009 Maintenance Capital

Date           Amount          Amount Paid      Total Amount     Notation Made
               Borrowed        or Repaid        Outstanding      By




Total
Borrowed
Repayment
begins
February 15,
2010
